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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 In re:
                                                         Bankr. Case No. 18-24070-GLT
 ONE JET, INC.,
                                                         Chapter 7
                Debtor.
 ROSEMARY C. CRAWFORD, Chapter 7 Trustee,
                                                         Adv. Pro. No.
                         Plaintiff,

           v.

 CORPORATE FLIGHT MANAGEMENT, INC.
 D/B/A CONTOUR AVIATION,


                         Defendant.

                COMPLAINT TO AVOID AND RECOVER TRANSFERS
          PURSUANT TO 11 U.S.C. §§ 547, 550, AND 553; AVOID AND RECOVER
           SETOFF;AND TO DISALLOW CLAIM PURSUANT TO 11 U.S.C. § 502

          Rosemary C. Crawford (the “Trustee” or “Plaintiff”), in her capacity as chapter 7 trustee

of the Estate of One Jet, Inc. (the “Debtor”), by and through the undersigned counsel, files this

complaint (the “Complaint”) to avoid and recover certain transfers and for related relief against

Corporate Flight Management, Inc. d/b/a Contour          Aviation (”CFM”).      In support of this

Complaint, Plaintiff hereby alleges upon belief that:

                                      NATURE OF THE CASE

          1.     This adversary proceeding is commenced pursuant to sections 547, 550, and 553 of

title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended, the “Bankruptcy Code”)

to (a) avoid and recover (1) certain preferential transfers of property made by the Debtor to CFM

within the one year period prior to the commencement of the Debtor’s bankruptcy case, and (2) a
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certain setoff by CFM that occurred within the ninety (90) days preceding the commencement of

the Debtor’s bankruptcy and (b) for other, related relief.

                                 JURISDICTION AND VENUE

       2.      The United States Bankruptcy Court for the Western District of Pennsylvania (the

“Court”) has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§ 157 and 1334(b).

Venue is proper pursuant to 28 U.S.C. § 1409. This adversary proceeding is a “core” proceeding

to be heard and determined by this court pursuant to 11 U.S.C. § 157(b) (2).

       3.      The statutory and legal predicates for the relief sought herein are sections 502, 547,

548, and 550 of the Bankruptcy Code, and Rules 3007 and 7001 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”).

       4.      The Trustee consents to the jurisdiction of the bankruptcy court and the entry of

final orders or judgment by the bankruptcy judge.

                               PROCEDURAL BACKGROUND

       5.      On October 17, 2018 (the “Petition Date”), petitioning creditors filed an involuntary

petition for relief under chapter 7 of title 11 of the Bankruptcy Code against the Debtor in the

Court at Case Number 18-24070-GLT (the “Case”).

       6.      On November 13, 2018, the Court entered an order for relief [Doc. No. 28] against

the Debtor.

       7.      On November 13, 2018, the Trustee was appointed to administer the estate of the

Debtor.

       8.      The Trustee’s duties include bringing claims to avoid and recover preferential or

fraudulent transfers pursuant to sections 547, 548, 553(b) and 550 of the Bankruptcy Code, and

applicable non-bankruptcy law.
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        9.      On or about February 27, 2019, the Court entered an Order authorizing the

Employment of Bernstein-Burkley, P.C., as Special Counsel to the Trustee (“Special Counsel”)

[Doc 451].

                                      FACTUAL BACKGROUND

        10.     The Debtor is a California corporation that, until its bankruptcy, primarily engaged

in airline transportation services.

        11.     In the course of its business, the Debtor maintained business relationships with

vendors, suppliers, distributors, and creditors.

        12.     CFM conducted business with the Debtor through August 2018.

        13.     CFM is a Tennessee corporation with a principal office located at 808 Blue Angel

Way, Smyrna TN 37167-374.

        14.     On or about March 04, 2016, the Debtor and CFM (collectively, the “Parties”)

executed a certain Aircraft Management Agreement and Charter Agreement, as amended (the

“Operating Agreement”), pursuant to which the Debtor engaged CFM to operate and manage all

of the aircraft the Debtor owned and/or leased.

        15.     Pursuant to the Operating Agreement and throughout the business relationship

between the Parties, the Debtor tendered various payments to CFM as security deposits. As of

August 14, 2018, CFM held the total amount of $318,000.00 as a security deposit (the “Security

Deposit”).

        16.     In the ordinary course of business, the Debtor owned and/or leased various aircraft,

which in turn it subleased to CFM.

        17.     Ancillary to the Operating Agreement, the Debtor and CFM also entered into

numerous other agreements, including          that certain Aircraft Sub/Lease and Maintenance
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Agreement dated March 4, 2016 RK-556 (N488TM), as amended; that certain Aircraft Sub/Lease

and Maintenance Agreement RK-452 (N109NS) dated April 14,2017, as amended; that certain

Aircraft Sub/Lease and Maintenance Agreement RK-532 (N481TM) dated April 14, 2017 and

effective May 12, 2017, as amended; that certain Aircraft Sub/Lease and Maintenance Agreement

RK-415 (N102NS) dated July 12, 2017; that certain Aircraft Sub/Lease and Maintenance

Agreement RK-549 (N483TM) dated June 15, 2017; that certain Aircraft Sub/Lease and

Maintenance Agreement RK-363 (N790SS) dated October 17, 2017; that certain Aircraft

Sub/Lease and Maintenance Agreement 145292 (N17513) dated January 1, 2018; and that certain

Aircraft Sub/Lease and Maintenance Agreement 145393 (N16919) dated February 26, 2018

(collectively, the “ Sublease Agreements”).

       18.     Pursuant to the Operating Agreement and the Sublease Agreements, CFM was the

sole operator of the Debtor’s entire fleet of aircraft. As of August 2018, CFM operated a total of

eight aircraft on behalf of the Debtor.

       19.     Pursuant to the Operating Agreement, CFM conducted “[a]ll flight operations” for

the Debtor and such operations were “exclusively under the operational control of [CFM].”

       20.     Among its other duties, the Defendant: (a) interviewed, drug tested, background

checked, hired, trained, employed, scheduled, supervised and paid all pilots, flight crew members,

mechanics, maintenance crew members and other support staff engaged in the operation of all

aircraft in the Debtor’s fleet; (b) procured and maintained all applicable insurance coverage for all

aircraft in the Debtor’s fleet; (c) held all applicable operating licenses and certifications required

by the Federal Aviation Administration (“FAA”), Department of Transportation (“DOT”),

Transportation Security Administration (“TSA”) and other agencies for the operation of all aircraft
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in the Debtor’s fleet; and (d) acted as the sole point of contact with the FAA, DOT and TSA and

all other applicable agents with respect to all aircraft in the Debtor’s fleet

       21.      CFM’s pilots had sole discretion to terminate flights, refuse to commence flights,

proceed to alternate destinations or take any other action required for safety.

       22.      CFM is an “insider” of the Debtor within the meaning of section 101(31) of the

Bankruptcy Code, including, but not limited to, because CFM operated substantially all of the

property of the Debtor under a lease or operating agreement.

       23.      CFM sent a certain Notice of Contract Terminations, purporting to terminate the

Operating Agreement and the Sublease Agreements (collectively, the “Agreements”), effective

June 27, 2018, on the basis of the Debtor’s alleged default under the Agreements.

       24.      On or about August 14, 2018, the parties executed a certain Settlement and Mutual

Release (the “Settlement Agreement”).

   A. Factual Background Pertaining to Setoff

       25.      Pursuant to the Settlement Agreement, as of August 14, 2018, the Debtor allegedly

owed $889,370.53 to CFM (the “CFM Claim”).

       26.      A portion of the CFM Claim, in the amount of $454,922.51, was secured by liens

against several aircraft owned and/or leased by the Debtor. CFM perfected those liens via filings

with the Federal Aviation Administration Registry.

       27.      As of August 14, 2018, the remainder of the CFM Claim, in the amount of

$434,480.02 (i.e., $889,370.53 - $454,922.51 = $434,480.02) was not secured by any lien.

       28.      As of August 14, 2018, the dollar amounts of liens on each of the aircraft that

secured part of the CFM Claim were as follows:

             a. $20,301.72 for aircraft tail number N102NS;
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             b. $22,435.75 for aircraft tail number N109NS;

             c. $64,300.95 for aircraft tail number N481TM;

             d. $21,609.24 for aircraft tail number N483TM;

             e. $114,664.47 for aircraft tail number N488TM;

             f. $157,930.12 for aircraft tail number N16919; and

             g. $53,680.26 for the aircraft tail number N17513.

       29.      On August 15, 2018, CFM owed Security Deposits to the Debtor totaling

$318,000.00.

       30.      On August 15, 2018, pursuant to the terms of the Settlement Agreement, the

Defendant set off $293,000.00 of those Security Deposit to reduce the CFM Claim (the “Setoff”).

   B. Factual Background Pertaining to Preferential Transfers.

       31.      As of August 30, 2018, the Debtor owned Hawker 400A serial no. RK-532, which

was registered as N481TM (the “N481TM Aircraft”).

       32.      On August 31, 2018, the Debtor and CFM entered into a certain Amended Aircraft

Purchase and Sale Agreement (the “Sale Agreement”), for the sale for the N481TM Aircraft to

CFM for the total purchase price of $1,033,917.53 (the “Purchase Price”).

       33.      Pursuant to the term of the Sale Agreement, AIC Title Services, LLC (the “Escrow

Agent”) was to facilitate the purchase and sale of the N481TM Aircraft.

       34.      At the closing of the aircraft sale, the Escrow Agent was to distribute the Purchase

Price as follows: (a) $596,370.53 to CFM, (b) $137,547.00 to AirWheel Investments, LP, and (c)

$300,000.00 to the Debtor.

       35.      On August 31, 2018, the Escrow Agent wired $596,370.53 to CFM (the “Sale

Proceeds Transfer”), which it applied to the CFM Claim.
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        36.     During the one-year prior to the Petition Date, from October 17, 2017, to October

17, 2018 (the “Preference Period”), the Debtor continued to operate its business, including making

transfers of property to various entities in the form of checks, cashier’s checks, wire transfers,

ACH transfers, and the like.

        37.     The Debtor made payments, constituting transfers of an interest in its property, to

or for the benefit of CFM during the Preference Period in the total amount of not less than

$9,893,701.12 (collectively, the “Preferential Transfer” or “Preferential Transfers”). The details

of such Preferential Transfers are attached hereto and incorporated herein as Exhibit A.

        38.     The Trustee acknowledges that the Defendant may be entitled to assert defenses

under Section 547(c) of the Bankruptcy Code. Pursuant to Section 547(g) of the Bankruptcy Code,

the Defendant bears the burden of proof for any and all defenses it may assert.

        39.     To the extent the Trustee learns of any additional avoidable transfers (collectively,

the Setoff, Sale Proceeds Transfer, Preferential Transfers, and any additional avoidable transfers

are referred to below as the “Transfers”) that the Debtor made to CFM, it is the Trustee’s intention

to avoid and recover any and all such Transfers. Therefore, the Trustee reserves all rights to amend

or supplement this Complaint accordingly.

                                 COUNT I
               AVOIDANCE OF SETOFF PURSUANT TO 11 U.S.C. § 553(b)

        40.     The Trustee hereby incorporates all preceding paragraphs by reference as if fully

set forth herein.

        41.     Pursuant to section 553(b) of the Bankruptcy Code, the Trustee is entitled to avoid

a setoff that occurred on or within 90 days before the Petition Date to the extent that any

insufficiency (as that term is defined in section 553(b)) on the date of that setoff is less than the
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insufficiency on the later of (a) 90 days before the Petition Date, or (b) the first date during the 90

days immediately preceding the Petition Date on which there was an insufficiency.

        42.     At all times pertinent to the allegations in this Complaint, CFM was a creditor of

the Debtor.

        43.     CFM set off a mutual debt owing to the Debtor against CFM’s own claims against

the Debtor within 90 days before the Petition Date, including by way of the Setoff.

        44.     Upon information and belief, the insufficiency on the date the Setoff is less than

the insufficiency on the later of (a) 90 days before the Petition Date and (b) the first date during

the 90 days immediately preceding the Petition Date on which there was an insufficiency.

        45.     Accordingly, the Trustee is entitled to an order avoiding and recovering the Setoff

from CFM under section 553(b) of the Bankruptcy Code to the extent the insufficiency on the date

the setoff occurred was less than the insufficiency on the later of (a) 90 days before the Petition

Date and (b) the first date during the 90 days immediately preceding the Petition Date on which

there was an insufficiency (“CFM’s Improvement in Position”).

        46.     On information and belief, CFM’s Improvement in Position was not less than

$293,000.00.

        47.     Under section 553(b) of the Bankruptcy Code, the Trustee is entitled to the entry

of an order avoiding, and enabling the Trustee to recover the Setoff from CFM, in the amount of

$293,000.00.

                            COUNT II
   AVOIDANCE OF PREFERENTIAL TRANSFERS PURSUANT TO 11 U.S.C. § 547

        48.     The Trustee hereby incorporates all preceding paragraphs by reference as if fully

set forth herein.

        49.     Pursuant to Section 547 of the Bankruptcy Code, the Trustee may:
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       Based on reasonable due diligence in the circumstances of the case and taking into
       account a party’s known or reasonably knowable affirmative defenses under
       subsection (c), avoid any transfer of an interest of the debtor in property-

               (1)     to or for the benefit of a creditor;

               (2)     for or on account of an antecedent debt owed by the debtor before
               such transfer was made;

               (3)     made while the debtor was insolvent;

               (4)     made--
                       (A)     on or within 90 days before the date of the filing of the
                       petition; or
                       (B)     between ninety days and one year before the date of the filing
                       of the petition, if such creditor at the time of such transfer was an
                       insider; and

               (5)    that enables such creditor to receive more than such creditor would
               receive if--
                      (A)     the case were a case under chapter 7 of this title;
                      (B)     the transfer had not been made; and
                      (C)     such creditor received payment of such debt to the extent
                      provided by the provisions of this title.

11 U.S.C. § 547(b).

       50.     As described on Exhibit A, the Debtor made transfers to or for the benefit of CFM

in a total amount not less than $9,893,701.12.

       51.     The Preferential Transfers were made from one or more of the Debtor’s bank

accounts, and therefore constituted transfers of an interest of the Debtor in property.

       52.     Each Preferential Transfer was made to or for the benefit of a creditor within the

meaning of Section 547(b)(1) of the Bankruptcy Code, because each Preferential Transfer reduced

or satisfied an obligation or debt the Debtor owed to CFM.
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        53.     Each Preferential Transfer was made for or on account of an antecedent debt owed

by the Debtor to CFM through their ongoing business relationship.

        54.     Each Preferential Transfer was made while the Debtor was insolvent, because (a)

during the period from one year before the Petition Date until the 90th day before the Petition Date,

the Debtor was unable to pay its debts as they came due, and (b) during the 90 days immediately

preceding the Petition Date, the Debtor is presumed to be insolvent, pursuant to section 547(f) of

the Bankruptcy Code.

        55.     Each Preferential Transfer was made during the Preference Period.

        56.     As a result of the Preferential Transfers, CFM received more than it would have

received if CFM had participated in the distribution of the assets of the bankrupt estate pursuant

to chapter 7 of the Bankruptcy Code, the Preferential Transfers had not been made, and CFM

received payment of its claims to the extent provided by the provisions of the Bankruptcy Code.

        57.     Accordingly, the Trustee is entitled to entry of an order avoiding the Preferential

Transfers in the amount of $9,893,701.12 under section 547 of the Bankruptcy Code.

                            COUNT III
   AVOIDANCE OF SALE PROCEEDS TRANSFER PURSUANT TO 11 U.S.C. § 547

        58.     The Trustee hereby incorporates all preceding paragraphs by reference as if fully

set forth herein.

        59.     At the direction of the Debtor, the Escrow Agent effected the Sale Proceeds

Transfer, in the amount of $596,370.53, to CFM.

        60.     The Sale Proceeds Transfer constituted a transfer of an interest of the Debtor in

property, because the Debtor owned the N481TM Aircraft and, therefore, the Debtor owned all of

the proceeds derived from that aircraft’s sale (including the proceeds that were the subject of the

Sale Proceeds Transfer).
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          61.    The Sale Proceeds Transfer was made to or for the benefit of a creditor within the

meaning of section 547(b)(1) of the Bankruptcy Code, because the Sale Proceeds Transfer reduced

or satisfied an obligation or debt the Debtor owed to CFM.

          62.    The Sale Proceeds Transfer was made for or on account of an antecedent debt owed

by the Debtor to CFM.

          63.    The Sale Proceeds Transfer was made while the Debtor was insolvent, because the

Debtor is presumed to be insolvent during the 90 days immediately preceding the Petition Date,

pursuant to section 547(f) of the Bankruptcy Code.

          64.    As a result of the Sale Proceeds Transfer, CFM received more than it would have

received if CFM had participated in the distribution of the assets of the bankrupt estate pursuant

to chapter 7 of the Bankruptcy Code, the Sale Proceeds Transfer had not been made, and CFM

received payment of its claims to the extent provided by the provisions of the Bankruptcy Code.

          65.    Accordingly, the Trustee is entitled to entry of an order avoiding the Sale Proceeds

Transfer in the amount of $ 596,370.53 under section 547 of the Bankruptcy Code

                                   COUNT IV
                RECOVERY OF AVOIDED TRANSFERS UNDER 11 U.S.C. § 550

          66.    Trustee incorporates all preceding paragraphs by reference as if fully set forth

herein.

          67.    Trustee is entitled to avoid all of the Transfers under sections 553(b) or 547, as the

case may be.

          68.    CFM was the initial transferee of all Transfers (or was the immediate or mediate

transferee of the Transfers or the person for whose benefit the Transfers were made).

          69.    Pursuant to section 550(a) of the Bankruptcy Code, Trustee is entitled to recover

from CFM all of the Transfers or their value.
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                                 COUNT V
           DISALLOWANCE OF ALL CLAIMS UNDER 11 U.S.C. § 502(d) AND (j)

          70.    The Trustee incorporates all preceding paragraphs by reference as if fully set forth

herein.

          71.    CFM is an entity from which property is recoverable under sections 550 and 553

of the Bankruptcy Code.

          72.    CFM is a transferee of all of the Transfers that are avoidable under sections 547

and 553 of the Bankruptcy Code.

          73.    CFM has not paid the amount of the Transfers, or turned over such property, for

which CFM is liable under sections 550 or 553 of the Bankruptcy Code.

          74.    Pursuant to section 502(d) of the Bankruptcy Code, any and all claims of the

Defendant and/or its assignee against the Debtor’s chapter 7 estate must be disallowed until such

time as CFM pays to the Trustee an amount equal to the aggregate amount of the Transfers.

          75.    Pursuant to section 502(j) of the Bankruptcy Code, any and all claims of CFM,

and/or its assignee, that have been allowed against the Debtor’s chapter 7 estate must be

reconsidered and disallowed until such time as CFM pays to the Trustee an amount equal to the

aggregate amount of all the Transfers.

          WHEREFORE, Plaintiff, Rosemary C. Crawford, solely in her capacity as chapter 7 trustee

of the Estate of One Jet, Inc., prays that this Court grant the following relief against the Defendant,

Corporate Flight Management, Inc. d/b/a Contour Aviation:

          A.     Judgment in favor of the Trustee and against CFM, avoiding the Setoff, enabling

the Plaintiff to recover, and directing CFM to return to Plaintiff $293,000.00 pursuant to 11 U.S.C.

§ 553(b);
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       B.      Judgment in favor of the Trustee and against CFM, avoiding the Preferential

Transfers and Sale Proceeds Transfer and directing CFM to return to Plaintiff $10,490,071.65,

pursuant to 11 U.S.C. §§ 547(b) and 550;

       C.      Judgment in favor of the Trustee and against CFM, declaring any and all claims

held by CFM and/or its assignee are disallowed in accordance with 11 U.S.C. §§ 502(d) and 502(j)

until and unless CFM satisfies the judgment; and

       D.      Granting to the Trustee the costs of this action, and such other relief and further

relief as this Court deems just and proper.



 Dated: September 4, 2020                          BERNSTEIN-BURKLEY, P.C.

                                                   By: /s/ John J. Richardson
                                                   Kirk B. Burkley, Esq. PA I.D.: 89511
                                                   kburkley@bernsteinlaw.com
                                                   John J. Richardson, Esq., PA I.D.: 86045
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                                                   Special Counsel to the Trustee
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 In re:
                                                          Bankr. Case No. 18-24070-GLT
 ONE JET, INC.,
                                                          Chapter 7
                Debtor.
 ROSEMARY C. CRAWFORD, Chapter 7 Trustee,
                                                          Adv. Pro. No.
                          Plaintiff,

           v.

 CORPORATE FLIGHT MANAGEMENT, INC.
 D/B/A CONTOUR AVIATION,


                          Defendant.

                                          ORDER OF COURT

        On this _____________ day of ____________________, 2020, upon consideration of the
foregoing complaint (the “Complaint”) filed by Rosemary C. Crawford, solely in her capacity as
chapter 7 trustee of the Estate of One Jet, Inc. (the “Plaintiff”), to avoid and recover certain
transfers, against Corporate Flight Management, Inc. d/b/a Contour Aviation (”CFM”), and all
responses thereto, it is hereby ORDERED, ADJUDGED, and DECREED that:

   1. The relief requested in the Complaint is hereby GRANTED;

   2.      Judgment is hereby entered in favor of the Trustee and against CFM AVOIDING the
          Transfers (as defined in the Complaint) and DIRECTING CFM to return to the Trustee
          the sum of $10,783,071.65 within ten (10) business days of the date that this Order becomes
          final and non-appealable; and

   3. Judgment is hereby entered in favor of the Trustee and against CFM, ordering any and all
      claims held by CFM and/or its assignee hereby are DISALLOWED until and unless CFM
      satisfies this judgment in full.


                                                       Hon. Gregory L. Taddonio
                                                       United States Bankruptcy Judge
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                                            Exhibit A


              STATEMENT OF TRANSFERS DURING THE PREFERENCE PERIOD

Transaction           Description              Bank            Recipient             Amount
   Date                                      Reference
                                                No.
 10/19/2017                                              CORPORATE FLIGHT
              WIRE TRANS TRN 1019014451                  MANAGEMENT
              101917 UBOC UB297081N          93052002                            $    110,134.00
 10/23/2017   WIRE TRANS TRN 1023021503                  CORPORATE FLIGHT
              102317 UBOC UB273708N          93055891    MANAGEMENT              $     55,000.00
 10/27/2017   WIRE TRANS TRN 1027019552                  CORPORATE FLIGHT
              102717 UBOC UB239835N          93054290    MANAGEMENT              $    150,000.00
  11/1/2017   WIRE TRANS TRN 1101027 599                 CORPORATE FLIGHT
              110117 UBOC UB201360N          93057679    MANAGEMENT              $    144,891.29
  11/6/2017   WIRE TRANS TRN 11060267 46                 CORPORATE FLIGHT
              110617 UBOC UB173649N          93056991    MANAGEMENT              $    129,253.41
  11/9/2017   WIRE TRANS TRN 1109022729                  CORPORATE FLIGHT
              110917 UBOC UB150378N          93056346    MANAGEMENT              $     13,413.22
 11/10/2017   WIRE TRANS TRN 1110021171                  CORPORATE FLIGHT
              111017 UBOC UB142554N          93055491    MANAGEMENT              $    100,000.00
 11/14/2017                                              CORPORATE FLIGHT
            CORPORATE FLIGH ACH CCD          52995807    MANAGEMENT              $    168,454.69
 11/15/2017 WIRE TRANS TRN 1115022310                    CORPORATE FLIGHT
            111517 UBOC UB119727N            93055474    MANAGEMENT              $    100,000.00
 11/22/2017 WIRE TRANS TRN 1122018523                    CORPORATE FLIGHT
            112217 UBOC UB073863N            93053522    MANAGEMENT              $    206,000.00
 11/29/2017 WIRE TRANS TRN 1129018152                    CORPORATE FLIGHT
            112917 UBOC UB041919N            93053129    MANAGEMENT              $     85,000.00
 11/29/2017                                              CORPORATE FLIGHT
            CORPORATE FLIGH ACH CCD          56998455    MANAGEMENT              $    124,889.23
  12/1/2017 WIRE TRANS TRN 1201030254                    CORPORATE FLIGHT
            120117 UBOC UB011031N            93058418    MANAGEMENT              $     83,617.00
 12/11/2017 WIRE TRANS TRN 1211018235                    CORPORATE FLIGHT
            121117 U8OC UB964980N            93051978    MANAGEMENT              $    170,000.00
 12/14/2017                                              CORPORATE FLIGHT
            CORPORATE FLIGH ACH CCD          51353582    MANAGEMENT              $    168,454.69
 12/15/2017 WIRE TRANS TRN 1215029199                    CORPORATE FLIGHT
            121517 UBOC UB922491N            93054107    MANAGEMENT              $     18,800.00
 12/15/2017 WIRE TRANS TRN 1215031786                    CORPORATE FLIGHT
            121517 UBOC UB920529N            93055590    MANAGEMENT              $    208,577.59
 12/19/2017 WIRE TRANS TRN 1219024488                    CORPORATE FLIGHT
            121917 UBOC UB902505N            93057182    MANAGEMENT              $     89,928.00
 12/22/2017 WIRE TRANS TRN 1222023757                    CORPORATE FLIGHT
            122217 UBOC UB871086N            93056850    MANAGEMENT              $     73,107.76
 12/22/2017 WIRE TRANS TRN 1222023759                    CORPORATE FLIGHT
            122217 UBOC UB871083N            93056852    MANAGEMENT              $     90,245.63
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12/28/2017                                         CORPORATE FLIGHT
           CORPORATE FLIGH ACH CCD      54625140   MANAGEMENT               $   131,046.04
  1/3/2018 WIRE TRANS TRN 0103023504               CORPORATE FLIGHT
           010318 UBOC UB811245N        93053791   MANAGEMENT               $    86,844.00
  1/8/2018 WIRE TRANS TRN 0108020333               CORPORATE FLIGHT
           010818 UBOC UB788244N        93052557   MANAGEMENT               $    74,119.00
 1/11/2018                                         CORPORATE FLIGHT
           CORPORATE FLIGH ACH CCD      58496259   MANAGEMENT               $   157,454.86
 1/16/2018 WIRE TRANS TRN 0116025919               CORPORATE FLIGHT
           011618 UBOC UB745107N        93055331   MANAGEMENT               $    94,436.46
 1/22/2018 WIRE TRANS TRN 0122020619               CORPORATE FLIGHT
           012218 UBOC UB709284N        93053759   MANAGEMENT               $    81,658.85
 1/26/2018 WIRE TRANS TRN 0126018626               CORPORATE FLIGHT
           012618 UBOC UB677148N        93053031   MANAGEMENT               $   179,859.00
 1/30/2018                                         CORPORATE FLIGHT
           CORPORATE FLIGH ACH CCD      56775264   MANAGEMENT               $   140,465.34
  2/5/2018 WIRE TRANS TRN 0205021602               CORPORATE FLIGHT
           020518 UBOC UB618537N        93053072   MANAGEMENT               $   126,826.50
  2/9/2018 WIRE TRANS TRN 0209024441               CORPORATE FLIGHT
           020918 UBOC UB582339N        93057234   MANAGEMENT               $    92,108.63
  2/9/2018 WIRE TRANS TRN 0209024442               CORPORATE FLIGHT
           020918 UBOC UB582336N        93057235   MANAGEMENT               $   119,874.00
 2/14/2018                                         CORPORATE FLIGHT
           CORPORATE FLIGH ACH CCD      53273824   MANAGEMENT               $   183,892.02
 2/16/2018 WIRE TRANS TRN 0216023033               CORPORATE FLIGHT
           021618 UBOC UB544140N        93055850   MANAGEMENT               $   219,126.72
 2/21/2018 WIRE TRANS TRN 0221024996               CORPORATE FLIGHT
           022118 UBOC UB524997N        93057254   MANAGEMENT               $    57,087.00
 2/23/2018 WIRE TRANS TRN 0223022300               CORPORATE FLIGHT
           022318 UBOC UB509739N        93055921   MANAGEMENT               $   102,892.12
 2/27/2018                                         CORPORATE FLIGHT
           CORPORATE FLIGH ACH CCD      56867521   MANAGEMENT               $   170,419.49
  3/1/2018 WIRE TRANS TRN 0301023780               CORPORATE FLIGHT
           030118 UBOC UB469788N        93054219   MANAGEMENT               $   113,965.69
  3/2/2018 WIRE TRANS TRN 0302026133               CORPORATE FLIGHT
           030218 UBOC UB456813N        93055830   MANAGEMENT               $    74,401.35
  3/9/2018 WIRE TRANS TRN 0309024340               CORPORATE FLIGHT
           030918 UBOC UB415683N        93057138   MANAGEMENT               $   239,684.09
 3/14/2018                                         CORPORATE FLIGHT
           CORPORATE FLIGH ACH CCD      53115742   MANAGEMENT               $   238,336.24
 3/15/2018 WIRE TRANS TRN 0315024217               CORPORATE FLIGHT
           031518 UBOC UB384291 N       93056298   MANAGEMENT               $   125,000.00
 3/16/2018 WIRE TRANS TRN 0316022541               CORPORATE FLIGHT
           031618 UBOC UB375681N        93055930   MANAGEMENT               $   125,000.00
 3/23/2018 WIRE TRANS TRN 0323022903               CORPORATE FLIGHT
           032318 UBOC UB332340N        93056793   MANAGEMENT               $   420,820.21
 3/26/2018 WIRE TRANS TRN 0326025571               CORPORATE FLIGHT
           032618 UBOC UB323466N        93057365   MANAGEMENT               $   125,000.00
 3/28/2018 WIRE TRANS TRN 0328024496               CORPORATE FLIGHT
           032818 UBOC UB304911 N       93056786   MANAGEMENT               $   125,000.00
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3/29/2018                                           CORPORATE FLIGHT
            CORPORATE FLIGH ACH CCD      58850278   MANAGEMENT               $   182,300.79
3/30/2018   WIRE TRANS TRN 0330028312               CORPORATE FLIGHT
            033018 UBOC UB277974N        93058450   MANAGEMENT               $    25,000.00
3/30/2018   WIRE TRANS TRN 0330028057               CORPORATE FLIGHT
            033018 UBOC UB278358N        93058263   MANAGEMENT               $   125,000.00
 4/4/2018   WIRE TRANS TRN 0404017997               CORPORATE FLIGHT
            040418 UBOC UB259875N        93052618   MANAGEMENT               $   168,191.00
 4/9/2018   WIRE TRANS TRN 0409025130               CORPORATE FLIGHT
            040918 UBOC UB229728N        93056056   MANAGEMENT               $   125,000.00
4/12/2018                                           CORPORATE FLIGHT
          CORPORATE FLIGH ACH CCD        53749991   MANAGEMENT               $   263,486.54
4/13/2018 WIRE TRANS TRN 0413029796                 CORPORATE FLIGHT
          041318 UBOC UB192384N          93054507   MANAGEMENT               $   100,041.98
4/18/2018 WIRE TRANS TRN 0418021877                 CORPORATE FLIGHT
          041818 UBOC UB168387N          93055658   MANAGEMENT               $   125,000.00
4/19/2018 WIRE TRANS TRN 0419022477                 CORPORATE FLIGHT
          041918 UBOC UB158229N          93056735   MANAGEMENT               $   102,548.40
4/24/2018 WIRE TRANS TRN 0424017976                 CORPORATE FLIGHT
          042418 UBOC UB136665N          93053660   MANAGEMENT               $    92,000.00
4/26/2018 WIRE TRANS TRN 0426016933                 CORPORATE FLIGHT
          042618 UBOC UB118368N          93052681   MANAGEMENT               $    55,679.00
4/27/2018                                           CORPORATE FLIGHT
          CORPORATE FLIGH ACH CCD        59729086   MANAGEMENT               $   210,954.62
 5/7/2018 WIRE TRANS TRN 0507022120                 CORPORATE FLIGHT
          050718 UBOC UB046629N          93054241   MANAGEMENT               $   125,000.00
 5/8/2018 WIRE TRANS TRN 0508024855                 CORPORATE FLIGHT
          050818 UBOC UB035856N          93056260   MANAGEMENT               $   125,000.00
5/10/2018 WIRE TRANS TRN 0510017075                 CORPORATE FLIGHT
          051018 UBOC UB025269N          93052477   MANAGEMENT               $   125,001.00
5/14/2018                                           CORPORATE FLIGHT
          CORPORATE FLIGH ACH CCD        56814248   MANAGEMENT               $   264,299.17
5/18/2018 WIRE TRANS TRN 0518024462                 CORPORATE FLIGHT
          051818 UBOC UB967230N          93058739   MANAGEMENT               $   818,553.06
5/29/2018 WIRE TRANS TRN 0529025796                 CORPORATE FLIGHT
          052918 UBOC UB913596N          93057146   MANAGEMENT               $    70,620.40
5/30/2018                                           CORPORATE FLIGHT
          CORPORATE FLIGH ACH CCD        52214435   MANAGEMENT               $   223,444.50
 6/6/2018 WIRE TRANS TRN 0606022199                 CORPORATE FLIGHT
          060618 UBOC UB851217N          93054945   MANAGEMENT               $   122,740.90
6/14/2018                                           CORPORATE FLIGHT
          CORPORATE FLIGH ACH CCD        57815611   MANAGEMENT               $   250,149.52
6/28/2018                                           CORPORATE FLIGHT
          CORPORATE FLIGH ACH CCD        51816257   MANAGEMENT               $   198,606.12
7/27/2018 WIRE TRANS TRN 0727026893                 CORPORATE FLIGHT
          072718 UBOC UB516927N          93059164   MANAGEMENT               $    50,000.00
7/31/2018 WIRE TRANS TRN 0731024902                 CORPORATE FLIGHT
          073118 UBOC UB501225N          93055930   MANAGEMENT               $    50,000.00
                                                    Total                    $ 9,893,701.12
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